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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

  The Sustainability Institute, et al.,                 Case No. 2:25-02152-RMG

                  Plaintiffs,
          v.
                                                        ORDER
  Donald Trump, in his official capacity as
  President of the United States, et al.,
      Defendants.


       This matter is before the Court on Defendants’ Motion for Reconsideration of the Court’s

Order for Expedited Discovery (Dkt. No. 46) and Defendants’ Emergency Motion to Stay the

Court’s Order for Expedited Discovery (Dkt. No. 48). The Court entered an Expedited Discovery

Order requiring five Defendants to produce a limited number of documents related to the grants at

issue in this case. (Dkt. No. 45). The limited discovery authorized by the Expedited Discovery

Order would allow the Court to better understand the nature of Plaintiffs’ claims and, if

meritorious, the appropriate remedies, issues central both to whether the Court has jurisdiction

over this matter and Plaintiffs’ entitlement to preliminary injunctive relief.

       Defendants now move for reconsideration of the Court’s Expedited Discovery Order under

Fed. R. Civ. P. 54(b) and stay of the Court’s Expedited Discovery Order under Fed. R. Civ. P.

26(c). Defendants argue that the Supreme Court’s decision in Department of Education v.

California, No. 24A910, 2025 WL 1008354 (Apr. 4, 2025) suggests that this Court does not have

subject matter jurisdiction over Plaintiffs’ claims; and therefore, the Court should reconsider or

stay its Expedited Discovery Order and not subject Defendants to discovery at this early stage. For

the reasons set forth below, the Court grants-in-part Defendants’ motion to reconsider and denies

Defendants’ motion to stay.

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I.      Standard
        A. Motion For Reconsideration
            Rule 54(b) governs the Court's reconsideration of interlocutory orders. Fed. R. Civ. P.

  54(b). Where a district court issues an interlocutory order such as one for partial summary

  judgment “that adjudicates fewer than all of the claims,” the court retains discretion to revise such

  an order “at any time before the entry of a judgment adjudicating all the claims.” Id.

            Compared to motions to reconsider final judgments pursuant to Rule 59(e), Rule 54(b)’s

  approach involves broader flexibility to revise interlocutory orders before final judgment as the

  litigation develops and new facts or arguments come to light. Carlson v. Boston Sci. Corp., 856

  F.3d 320, 326 (4th Cir. 2017).

            The discretion Rule 54(b) provides is not limitless. Courts have cabined revision pursuant

  to Rule 54(b) by treating interlocutory rulings as law of the case. Id. at 325 (citing Canoe Ass'n v.

     Murphy Farms, Inc., 326 F.3d 505, 515-16 (4th Cir. 2003)) (internal citations omitted). “The law-

     of-the case doctrine provides that in the interest of finality, when a court decides upon a rule of

     law, that decision should continue to govern the same issues in subsequent stages in the same

     case.” Carlson, 856 F.3d at 325 (citing TWFS, Inc. v. Franchot, 572 F.3d 186, 191 (4th Cir. 2009))

     (internal citations omitted). Thus, a court may revise an interlocutory order under the same

     circumstances in which it may depart from the law of the case: (1) “a subsequent trial produc[ing]

     substantially different evidence;” (2) a change in applicable law; or (3) clear error causing

     “manifest injustice.” Id. This standard closely resembles the standard applicable to motions to

     reconsider final orders pursuant to Rule 59(e), but it departs from such standard by accounting for

     potentially different evidence discovered during litigation as opposed to the discovery of “new




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  evidence not available at trial.” Id. (citing Pac. Ins. Co. v. Am. Nat. Fire Ins. Co., 148 F.3d 396,

  403 (4th Cir. 1998)).

      B. Motion to Stay Discovery
          District courts have “broad discretion” and “wide latitude” in controlling discovery. Mey

  v. Phillips, 71 F.4th 203, 217 (4th Cir. 2023); see also Mylan Labs., Inc. v. Akzo, N.V., 2 F.3d 56,

  64 (4th Cir. 1993) (stating that district courts have broad discretion in their resolution of discovery

  problems that arise in cases pending before them).

          Under Fed. R. Civ. P. 26(c), a court may stay discovery during the pendency of a

  dispositive motion for “good cause” shown. Hollins v. U.S. Tennis Ass'n, 469 F. Supp. 2d 67, 78

  (E.D.N.Y. 2006); see also Tilley v. United States, 270 F. Supp. 2d 731, 734 (M.D.N.C. 2003)

  (staying discovery during pendency of a motion for summary judgment). However, the mere filing

  of a dispositive motion does constitute “good cause” and does not alone warrant the issuance of a

  stay. Hollins, 469 F.Supp.2d at 78. Stay of discovery pending the outcome of a dispositive motion

  requires a case-by-case analysis. E.g., Skellerup Ind. Ltd. v. City of Los Angeles, 163 F.R.D. 598,

  601 (C.D. Cal. 1995). In determining whether a stay of discovery is appropriate, courts have

  considered a number of factors including the breadth of discovery and burden of responding to it,

  the risk of unfair prejudice to a party opposing the stay, the nature and complexity of the action,

  the posture or stage of the litigation, and any other relevant circumstances. See Hollins, 469

  F.Supp.2d at 78; Skellerup, 162 F.R.D. at 601.

II.   Discussion
          In both motions, Defendants argue that the Supreme Court’s recent per curiam decision in

   Department of Education v. California staying a district court’s temporary restraining order settles

   once and for all the jurisdictional questions in this case. In light of the seminal Supreme Court


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decision in Bowen v. Massachusetts, 487 U.S. 879 (1988) and its progeny, which require a careful

analysis of the nature of the specific claims asserted and the remedies necessary to provide a

prevailing plaintiff relief, the Court declines to adopt Defendants’ view at this stage, especially

without the benefit of the parties’ briefing and argument on the issues.

         In Department of Education v. California, the Supreme Court stayed a district court’s

temporary restraining order, which it construed as an appealable preliminary injunction, pending

the resolution of the appeal in the underlying case. California, 2025 WL 1008354, at *2. At the

district court, plaintiffs sought preliminary relief enjoining the Government from terminating grant

awards under programs administered by the United States Department of Education. California v.

U.S. Department of Education, No. 25-105488-MJJ, 2025 WL 760825, at *1 (D. Mass. Mar. 10,

2025). The District Court for the District of Massachusetts entered injunctive relief against the

government. Id. at *5. The Government appealed the district court’s order and requested a stay

pending the appeal. California v. U.S. Department of Education, No. 25-1244, 2025 WL 878431,

at *1 (1st Cir. Mar. 21, 2025). The First Circuit Court of Appeals denied the Government’s request

to stay the district court’s order pending appeal. Id. at *1. The Government then filed an emergency

application to the Supreme Court requesting the Court vacate the district court’s temporary

restraining order and immediately stay the case pending the disposition of the Government’s

appeal. California, 2025 WL 1008354, at *1. The Supreme Court granted the application and

stayed the district court’s order. The Court reasoned that a stay is appropriate because (1) “the

Government is likely to succeed in showing the District Court lacked jurisdiction to order the

payment of money under the APA” and (2) the Government is likely to suffer irreparable harm.

Id.



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       The Supreme Court’s discussion on jurisdiction is relevant here. The Supreme Court noted

that the APA’s waiver of sovereign immunity does not apply to claims seeking money damages,

but also reaffirmed the general rule that “a district court’s jurisdiction ‘is not barred by the

possibility’ that an order setting aside an agency’s action may result in the disbursement of funds.”

Id. (quoting Bowen, 487 U.S. at 910). The Supreme Court further noted that “the APA’s limited

waiver of sovereign immunity does not extend to orders ‘to enforce a contractual obligation to pay

money’ along the lines of what the [district court in California] ordered . . . .” Id. (quoting Great-

West Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 212 (2002)). Instead, the Supreme Court

stated, that “the Tucker Act grants the Court of Federal Claims jurisdiction over suits based on

‘any express or implied contract with the United States.’” Id. (quoting 28 U.S.C. § 1491(a)(1)).

       The Court, when addressing both of Defendants motions in turn below, finds that the

Supreme Court’s decision in California should not prevent the discovery ordered in this case.

   A. Motion for Reconsideration
       Defendants contend that the Supreme Court’s opinion in California indicates “that the

Tucker Act applies to actions challenging federal grant terminations and, as a result, jurisdiction

over those actions lies solely in the Court of Federal Claims.” (Dkt. No. 46 at 3). Based on that

premise, Defendants argue requiring them to participate in discovery is manifestly unjust and

contrary to controlling law such that the Court should reconsider its Expedited Discovery Order.

The Court rejects Defendants argument for three reasons.

       First, it appears to the Court that Defendants overread the Supreme Court’s decision in

California. The Supreme Court’s order is on the Government’s application to vacate the district

court’s temporary restraining order and request for an immediate administrative stay. That

procedural posture led the Supreme Court to apply a likelihood of success standard to the

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Government’s application, stopping well short of addressing the complex jurisdictional issues on

the merits. California, 2025 WL 1008354 at *2 (“[T]he Government is likely to succeed in

showing the District Court lacked jurisdiction to order the payment of money under the APA.”).

Based on the standard the Supreme Court applied, it is not clear that this Court lacks jurisdiction

over this case at this time. It is certainly not so clear that requiring five Defendants to respond to

one discovery request each would be manifestly unjust or contrary to controlling law. In addition

to ignoring the standard of review, the Defendants discount a long line of cases, starting with

Bowen, that have addressed whether a case falls under the APA or Tucker Act. See, e.g., Bowen,

487 U.S. at 882-887; Great-West Life, 534 U.S. at 212; Maine Community Health Options v.

United States, 590 U.S. 296, 327 (2020). The Supreme Court’s brief treatment of Bowen and

Great-West Life in California and the cursory mention of potential jurisdictional issues do not

appear to settle all jurisdictional questions in this case. A careful examination of Plaintiffs’ claims

and the relief sought, mandated by Bowen, are necessary to resolve the question of whether

Plaintiffs have jurisdiction with this Court under the APA or must pursue their claims under the

Tucker Act before the Court of Federal Claims.

       Second, the discovery ordered in the Expedited Discovery Order would help the Court fully

and properly analyze subject matter jurisdiction. To determine whether the Court has jurisdiction,

the Court must decide whether Plaintiffs’ claims constitute a request for legal relief of money

damages thus falling outside of Congress’s waiver of sovereign immunity in the APA. See Bowen,

487 U.S. at 891-901. Whether a plaintiff is seeking legal or equitable relief depends on the basis

for the plaintiff’s claim and the nature of the underlying remedies sought. See Great-West Life,

534 U.S. at 213; see also Megapulse, Inc. v. Lewis, 672 F.2d 959, 968 (D.C. Cir. 1982) (“The

classification of a particular action as one which is not or is not ‘at its essence’ a contract action

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depends both on the source of the rights upon which the plaintiff bases its claims, and upon the

type of relief sought (or appropriate).”). Documents related to the freezing, pausing, and

terminating of the grant funds at issue here will help the Court understand the nature of Plaintffs’

claims and whether money damages alone would provide Plaintiffs and adequate remedy should

they prevail on the merits. Based on this limited discovery, the Court may find that a declaration

clarifying the extent of the Defendants’ obligations under the various statutes at issue here and/or

prospective injunctive relief are necessary to afford the Plaintiffs adequate relief in the event their

complaint has merit. In that instance, the case would fall under the APA and the Court would have

jurisdiction. Alternatively, the Court may find that in order to grant relief to a meritorious

complaint the Court would have to enforce a contractual obligation to pay money damages and

order Defendants to make payments to Plaintiffs. In that instance, the case would fall under the

Tucker Act and the Court would not have jurisdiction. Expedited discovery would assist the Court

in sorting out these issues.

        Third, Defendants will not be irreparably harmed by participating in expedited discovery.

Defendants argue that the Court should reconsider its Expedited Discovery Order because other

district courts have changed course in light of the Supreme Court’s decision in California. (Dkt.

No. 46 at 4). Defendants cite New York v. Trump, No. 25-cv-39, where the District of Rhode Island

granted an emergency motion to stay an order enforcing a preliminary injunction after the Supreme

Court issued its decision in California. The Court’s Expedited Discovery Order is not an order

granting or enforcing a preliminary injunction but simply an order facilitating limited expedited

discovery to assist the Court to address jurisdictional issues and the potential merit (or lack thereof)

regarding Plaintiffs’ motion for preliminary injunction. Defendants here are not in danger of

suffering irreparable harm like the Defendants in California and New York were.

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       The Court does, however, grant-in-part Defendants’ motion to reconsider regarding the

production requirement directed at DOGE. Defendants assert that DOGE is part of the Executive

Office of the President. (Dkt. No. 48 at 5). The actual legal status of DOGE has been something

of an enigma, and the clarification by Defendants that it is part of the President’s Office seems

reasonable. Consequently, the Court grants Defendants’ motion to reconsider regarding the

production requirements of DOGE and strikes DOGE’s discovery obligations.

       Accordingly, except for the modification of the Expedited Discovery Order regarding

DOGE, Defendants have failed to show that there was a change in applicable law or clear error

causing manifest injustice that requires the Court to reconsider its Expedited Discover Order.

   B. Motion to Stay Discovery
       Defendants also seek a stay of the Court’s Expedited Discovery Order similarly arguing

that the Supreme Court’s decision in California indicates that this Court lacks jurisdiction over

this case and that the Court should address jurisdictional arguments before permitting parties to

engage in discovery. As indicated above, the Expedited Discovery Order relates directly to

addressing jurisdictional issues mandated by Bowen.

       In determining whether a stay of discovery is appropriate, courts have considered a number

of factors including the breadth of discovery and burden of responding to it, the risk of unfair

prejudice to a party opposing the stay, the nature and complexity of the action, the posture or stage

of the litigation, and any other relevant circumstances. See Hollins, 469 F.Supp.2d at 78; Skellerup,

162 F.R.D. at 601. All relevant factors here disfavor a stay.

       The breadth of discovery ordered here is narrow in time and scope. The requests for

production of documents are tied directly to the grants at issue here and only concern documents



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from January 20, 2025 to the present. The Defendants’ burden to respond to that discovery is

similarly low.

       There is a great risk of unfair prejudice to Plaintiffs if the Court stays the Expedited

Discovery Order. The Court ordered limited expedited discovery on Plaintiff’s motion for a

preliminary injunction to allow the Court to better understand the nature of the claims being

asserted by Plaintiffs and, if their claims had merit, the type of relief that might be effective and

proper. This limited discovery is highly relevant to the issue of jurisdiction, specifically whether

Plaintiffs’ claims should be considered under the Tucker Act by the United States Court of Claims

or by this Court under the APA.

       In Bowen, the district court was directed to carefully examine the nature of the claim and

the remedy sought. If the plaintiff’s claim is essentially a contract claim seeking money damages,

jurisdiction lies with the Court of Claims. Id. at 893. On the other hand, if the plaintiff seeks

equitable relief, such as declaratory and injunctive relief, the case falls under the APA because for

all practical purposes the Tucker Act does not provide for equitable relief. Id. Further, as the

Supreme Court explained, “[t]he fact that a judicial remedy may require one party to pay money

to another is not a sufficient reason to characterize relief as ‘money damages.’” Id. The

determination of whether the claim “at its essence” is a contract claim “depends both on the source

of the rights upon which the plaintiff bases its claims, and upon the type of relief sought (or

appropriate).” Megapulse, 672 F.2d at 968. The district court’s inquiry into the nature of the claim

must go beyond the allegations in the complaint and look beneath the surface to examine the true

nature of the claim and the relief sought. Suburban Mortgage Associates, Inc. v. U.S. Department

of Housing and Urban Development, 480 F.3d 1116, 1124 (Fed. Cir. 2007); cf. Kerns v. U.S., 585

F.3d 187, 192 (4th Cir. 2009) (stating in the Federal Tort Claims Act immunity context that a trial

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   court may go beyond the allegations of the complaint and consider evidence when deciding the

   Government’s motion to dismiss for lack of subject matter jurisdiction under Rule 12(b)(1)).

              Despite the fact intensive inquiry required by this issue, Defendants urge this Court to

   address jurisdiction before allowing any discovery. This argument ignores the common practice

   of district courts conducting limited jurisdictional discovery to determine whether the court has

   jurisdiction over the matter before the court. The expedited discovery would allow the Court to

    fully and properly address the issue of jurisdiction as a threshold question in considering Plaintiffs’

       motion for a preliminary injunction. If the Court determines that the Court lacks jurisdiction over

       this case because the claims are essentially contractual in nature and money damages can provide

       complete relief, the process will stop then and there, and the case will be dismissed. However, if

    the Court determines that under § 702 and §704 of the APA that plaintiffs seek “relief other than

    money damages” and there “is no other adequate remedy” available, then Plaintiffs have a right to

    pursue their claims in the United States District Court under the APA.

              Because the limited discovery ordered by the Court is appropriate to assist in addressing

    issues relevant to jurisdiction and the merits of the Plaintiffs’ motion for preliminary injunction

    (should the Court have jurisdiction), the Court finds that a stay of the Expedited Discovery Order

    is not in the interest of justice or the fair deliberation of the issues before the Court. Consequently,

    Defendants’ motion to stay is denied.

III.      Conclusion
              For the reasons set forth above, the Court GRANTS-IN-PART AND DENIES-IN-PART

   Defendants’ motion to reconsider (Dkt. No. 46) and DENIES Defendants’ motion to stay (Dkt.

   No. 48).



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                                                   _s/ Richard Mark Gergel________
                                                   Richard Mark Gergel
                                                   United States District Judge

April 9, 2025
Charleston, South Carolina




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